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                 1   ROSEMARIE T. RING, SBN 220769               QUINN EMANUEL URQUHART
                        rring@gibsondunn.com                     & SULLIVAN LLP
                 2   JOSEPH R. ROSE, SBN 27902                   Rachel Herrick Kassabian (SBN
                        jrose@gibsondunn.com                     191060)
                 3   GIBSON, DUNN & CRUTCHER LLP                 rachelkassabian@quinnemanuel.com
                     One Embarcadero Center                      Yury Kapgan (SBN 218366)
                 4   San Francisco, CA 94111-3715                yurykapgan@quinnemanuel.com
                     Telephone: 415.393.8200                     Margret M. Caruso (SBN 243473)
                 5   Facsimile: 415.801.7358                     margretcaruso@quinnemanuel.com
                                                                 555 Twin Dolphin Dr., 5th Floor
                 6   MICHAEL H. DORE, SBN 227442                 Redwood Shores, CA 94065
                        mdore@gibsondunn.com                     Telephone: (650) 801-5000
                 7   GIBSON, DUNN & CRUTCHER LLP                 Facsimile: (650) 801-5100
                     333 South Grand Avenue
                 8   Los Angeles, CA 90071-3197                  Brian Mack (SBN 275086)
                     Telephone: 213.229.7000                     brianmack@quinnemanuel.com
                 9   Facsimile: 213.229.6652                     50 California Street, 22nd Floor
            10                                                   San Francisco, CA 94111
                                                                 Telephone: (415) 875-6400
            11       Attorneys for Defendant                     Facsimile: (415) 875-6700
                     Automattic Inc. and Matthew Charles
            12       Mullenweg                                   Counsel for Plaintiff WPEngine, Inc.

            13                               IN THE UNITED STATES DISTRICT COURT

            14                           FOR THE NORTHERN DISTRICT OF CALIFORNIA

            15                                       SAN FRANCISCO DIVISION

            16       WPENGINE, INC., a Delaware corporation,          CASE NO. 3:24-cv-06917-AMO
            17                       Plaintiff,                       [PROPOSED] STIPULATED ORDER RE
                                                                      FEDERAL RULE OF EVIDENCE 502(d)
            18             v.                                         ***AS MODIFIED
            19       AUTOMATTIC INC., a Delaware corporation;
                     and MATTHEW CHARLES MULLENWEG, an                Judge:      Hon. Araceli Martínez-Olguín
            20       individual,
                                  Defendants.
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                                     [PROPOSED] STIPULATED ORDER RE FEDERAL RULE OF EVIDENCE 502(D)
                     13245-00001/15811332.2             CASE NO. 3:24-CV-06917-AMO
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                 1           Plaintiff WPEngine, Inc. and Defendants Automattic Inc. and Matthew Charles Mullenweg
                 2   (collectively, the “parties”), by and through their respective counsel, hereby stipulate to and request
                 3   that the Court enter the following Stipulated Order Re Federal Rule of Evidence 502(d):
                 4    A.      Purpose.
                 5           1.     Pursuant to Federal Rule of Evidence 502(d), the production or disclosure of any
                 6   documents protected from discovery, including under the attorney-client privilege, work product
                 7   doctrine, the joint defense or common interest privilege, privacy laws and regulations, or any other
                 8   privilege, protection, or immunity from discovery (collectively “privilege or protection”), and
                 9   accompanying metadata (“Protected Documents”), does not, alone, result in the waiver of any privilege
            10       or protection, including subject matter waiver, associated with such Protected Documents as to the
            11       receiving party or any third parties in this or in any other state or federal proceeding regardless of the
            12       circumstances of the disclosure. This Paragraph provides the maximum protection allowed by Federal
            13       Rule of Evidence 502(d) with regard to Protected Documents. Federal Rule of Evidence 502(b) does
            14       not apply to any disputes regarding Protected Documents, and instead this Stipulated 502(d) Order
            15       governs all disputes regarding Protected Documents produced in this litigation. Nothing contained
            16       herein requires the production of Protected Documents, and no party is required to undertake a “quick
            17       peek” process under Fed. R. Civ. P. 26(b)(5).
            18        B.      Applicability.
            19               2.     This Order shall be applicable to any privileged or otherwise protected or exempted
            20       information contained in deposition transcripts and/or videotapes, Protected Documents, answers to
            21       interrogatories, responses to requests for admissions, affidavits, declarations, and all other information
            22       or material produced, made available for inspection, or otherwise submitted by any of the parties in
            23       this litigation pursuant to the Federal Rules of Civil Procedure, as well as testimony adduced at trial or
            24       during any hearing (collectively “Protected Information”).
            25        C.      Production of Discovery Materials Containing Potentially Protected Information.
            26               3.     Pursuant to Federal Rule of Evidence 502(d), the production of any Protected
            27       Information in this case shall not be deemed a waiver or impairment of any claim of privilege or
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                 1   protection in this case or in any other federal or state proceeding, including, but not limited to, the

                 2   attorney-client privilege, the protection afforded to work product materials, statutory privileges and

                 3   protections, or the subject matter thereof, as to the produced document and any related material.

                 4           4.     Nothing contained herein is intended to or shall serve to limit a party’s right to conduct a

                 5   review of documents, ESI or information (including metadata) for responsiveness and/or segregation of

                 6   privileged and/or protected information before production.

                 7    D.      Clawback Agreement.

                 8           5.     The producing party must notify the receiving party promptly, in writing, upon

                 9   discovery that a Protected Document or Protected Information has been produced. This “Clawback

            10       Notice” shall include the bates range of the produced materials (if any).

            11               6.     Within seven (7) days of serving a Clawback Notice, or another time period as agreed

            12       upon by the parties, the producing party shall provide a privilege log listing the item(s) produced, and

            13       a new copy of the material (utilizing the same bates number as the original material, if applicable) with

            14       the privileged or protected material redacted (if the producing party claims that only a portion of the

            15       document contains privilege or other protected). If the producing party claims that the entire Protected

            16       Document is privileged or protected, then the producing party shall provide a slip sheet noting that the

            17       document has been withheld.

            18        E.      Procedures Following Clawback Notice.

            19               7.     Upon receipt of a Clawback Notice relating to Protected Document(s) or Protected

            20       Information, all such information, and all copies thereof, shall be destroyed and the receiving party
            21       shall not use such information for any purpose. The receiving party shall also attempt, in good faith, to

            22       retrieve and destroy all copies of the documents in electronic format.

            23               8.     The receiving party may contest the producing party’s assertion of privilege or other

            24       protection. In that instance, within fourteen (14) days from receipt of the Clawback Notice, the

            25       receiving party shall give the producing party written “Notice of Clawback Challenge” providing the

            26       reason for said disagreement. The producing party will have seven (7) business days to respond to the
            27       Notice of Clawback Challenge, in writing, by either: (i) agreeing to withdraw the claim of privilege

            28       or other protection; or (ii) stating the reasons for such claim. If the producing party’s response to the
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                 1   Notice of Clawback Challenge does not resolve the issue, the parties shall meet and confer within

                 2   five (5) business days of the response. The meet and confer session must be in person or by video or

                 3   telephone, and may not be conducted by letter or e-mail. If the conference does not resolve the

                 4   dispute, within five (5) business days of the conference, the parties shall jointly submit the dispute to

                 5   the Court for resolution. The submission shall not exceed five (5) pages. the producing party shall file

                 6   a regularly noticed motion with evidentiary support for the claim of privilege. The producing party

                 7   retains the burden of establishing the applicability of the privilege or other protection as to any

                 8   inadvertently produced materials. The parties may agree on alternative deadlines regarding the

                 9   clawback procedure without seeking leave of Court.

            10              9.      Any analyses, memoranda or notes or portions thereof which were internally generated

            11       and contain or were based upon the Protected Document(s) or Protected Information subject to the

            12       Clawback Notice shall immediately be destroyed and not referred to or used in any way.

            13              10.     If, during a deposition, a producing party claims that a document being used in the

            14       deposition (e.g., marked as an exhibit, shown to the witness, or made the subject of examination) is a

            15       Protected Document or reflects Protected Information (a “Protected Exhibit”), the producing party shall

            16       serve a Clawback Notice within ten (10) business days of the receipt of the final deposition transcript,

            17       after which the parties shall follow the procedures set forth in paragraphs 6 through 8. This deadline

            18       can be changed by agreement of the parties without seeking leave of Court.

            19              11.     If a receiving party uses Protected Information in a brief or at a hearing, and the

            20       producing party has not served a Clawback Notice in advance of the briefing event or hearing, the
            21       producing party shall serve a Clawback Notice within ten (10) business days of the briefing event or

            22       hearing. Thereafter, the procedures set forth in paragraphs 6 through 8 shall apply.

            23              12.     This Order does not preclude a party from voluntarily waiving any claims of privilege

            24       or protection. The provisions of Fed. R. Evid. 502(a) apply when a party uses privileged or other

            25       protected information to support a claim or defense.

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                 1        IT IS SO STIPULATED.

                 2   DATED: June 5, 2025                  GIBSON, DUNN & CRUTCHER LLP
                 3
                                                          By: /s/ Michael H. Dore
                 4
                                                              Michael H. Dore
                 5
                                                          Attorneys for Defendant Automattic Inc. and Matthew
                 6                                        Charles Mullenweg

                 7   DATED: June 5, 2025                  QUINN EMANUEL URQUHART & SULLIVAN LLP

                 8                                        By: /s/ Sara Jenkins
                                                              Sara Jenkins
                 9
                                                          Attorneys for Plaintiff WPEngine, Inc.
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            12       PURSUANT TO STIPULATION, IT IS SO ORDERED.
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            15       DATED: June 6, 2025
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            18                                            DONNA M. RYU
                                                          Chief Magistrate Judge
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                              [PROPOSED] STIPULATED ORDER RE FEDERAL RULE OF EVIDENCE 502(D)
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